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  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Cameron Mizell, being first duly sworn, hereby depose and states as follows:

                               PURPOSE OF THE AFFIDAVIT

       1.      This affidavit is submitted in support of a Criminal Complaint for CHASE

KEVIN ALLEN, charging violations of 18 U.S.C. §§ 1363 and 2 and 40 U.S.C. § 5104(e)(2)(F).

                                BACKGROUND OF AFFIANT

       2.      I am a Special Agent assigned to the Federal Bureau of Investigation (FBI). I am

currently assigned to FBI Washington Field Office (WFO). Currently, I am tasked with

investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a

Special Agent, I am authorized by law or by a Government agency to engage in or supervise the

prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

       3.      Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause to support an application for an arrest warrant, it does not contain every fact known

by me or the United States. The dates listed in this Affidavit should be read as “on or about” dates.

Unless specifically indicated, all conversations and statements described in this affidavit are

related in substance and in part only and are not intended to be a verbatim recitation of such

statements. All times provided in this affidavit should be read as “on or about” times and are given

in Eastern Standard Time unless otherwise noted.

              STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

                      Background – The U.S. Capitol on January 6, 2021

       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
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around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       7.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd



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encouraged and assisted those acts.

       8.      Shortly thereafter, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       9.      After the U.S. Capitol was breached, United States Capitol Police (USCP)

requested assistance from law enforcement agencies in the area to protect the Capitol, keep people

from entering the Capitol, and expel the crowd that was inside the Capitol. Multiple officers with

the Metropolitan Police Department and other law enforcement officers came to assist.

       10.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

       11.     Additionally, news coverage of January 6, 2021, documented numerous attacks on

members of the news media who were present to cover the events at, around, and in the U.S.

Capitol building.    These included reports of members of the news media being harassed,

threatened, robbed, and assaulted based on their perceived roles as journalists, and equipment

belonging to several news organizations was stolen, damaged, and/or destroyed.

                                 Facts Specific to This Complaint

       12.     At approximately 4:50 p.m., on January 6, 2021, a large crowd made its way to

and/or past a media staging area that was set up outside the northeast corner of the U.S. Capitol,



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on U.S. Capitol grounds. As individuals moved past metal barricades that had been set up

around the staging area, media members were forced to flee the area before recovering all their

cameras and associated equipment. Numerous members of the crowd began to destroy the

equipment, including cameras, tripods, lights, shades, and remote broadcasting equipment that

belonged to various media outlets. Numerous members of the crowd yelled inflammatory

rhetoric against the members of the media. One member of the media who was forced to flee the

scene estimated that the equipment from his particular news organization that was destroyed was

valued at between $30,000 and $34,000. The image in Figure 1 depicts the staging area after the

members of the news media had been forced to flee.

                                            Figure 1




       g

       13.     On February 4, 2021, the FBI posted to its website Photograph #211-AOM

(“assault on media”) A-B, seeking the public’s assistance identifying individuals who made

unlawful entry into the U.S. Capitol Building and/or assaulted media personnel. As captured in

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several publicly available and/or posted videos and images, on January 6, 2021, the individual

pictured below in Photograph #211-AOM A-B participated in destruction and injury to property

of the media that occurred on the media staging area at the northeast side of the U.S. Capitol at

approximately 5 p.m.




       14.    In the videos and images, the individual pictured in Photograph #211-AOM A-B,

who is wearing a white Boston Red Socks beanie cap, a black and white herringbone patterned

scarf, and carrying a woodland camouflage patterned backpack, was seen repeatedly stomping on

media equipment, to include a pelican case, and yelling at media members to leave the area in an

apparent attempt to disrupt the media from continuing with live broadcasts of events at the U.S.

Capitol that day and to express general disdain for the media. Several individuals, including the

individual identified in Photograph #211-AOM A-B, participated in destroying the media

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equipment and causing members of the news media (MONM) to vacate the staging area and

abandon their equipment.

       15.     A     video     located     at        uniform   resource     locator        (“URL”):

https://youtu.be/4JoB82an8Yw

depicts Photograph #211-AOM A-B repeatedly stomping on media equipment to include a pelican

case at approximately 7:42 minutes into the video. The below still image was taken from the video.




       16.     A      video       posted        to       YouTube       located        at      URL:

https://www.youtube.com/watch?v=_Tg_SJh9b_A depicts the individual in Photograph #211-

AOM A-B smashing a pelican case with his foot as a male depicted in Photograph #204-AOM A-

D says, “Yeah, smash that shit,” from approximately 1:49 – 1:52 minutes into the video.




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       17.    A video located at URL: https://www.youtube.com/watch?v=YzxvVi8wkrU

depicts the individual in Photograph #211-AOM A-B at approximately 18:41 minutes into the

video yelling, “Get the fuck out of here, get the fuck out of here.” Approximately 15 seconds

earlier in the video, a MONM was heard repeatedly saying, “We are leaving.”




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        18.     A video located at URL: https://www.youtube.com/watch?v=bRwq6F9igyw

depicts the individual in Photograph #211-AOM A-B from approximately 0:49 – 0:54 minutes into

the video, dragging a camera and tripod before dropping it to the ground. The tripod and camera

were then stomped on by the individual in Photograph #211-AOM A-B as well as other individuals

participating in the assault.




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       19.     On February 6, 2021, an e-Tip was submitted to the FBI that provided a possible

identity for Photograph #211-AOM A-B as CHASE ALLEN (“ALLEN”). The tipster stated,

“Allen runs a YouTube channel The Allen Report where he frequently does live streams as he goes

into police stations and state houses to audit America.”

       20.     A review of the publicly available YouTube profile located a video at URL:

https://www.youtube.com/watch?v=bm6dwqOJKZw posted by, and believed to be produced by,

the owner of YouTube profile “The Allen Report,” depicts a man who closely resembles the

individual in Photograph #211-AOM A-B standing at the entrance of the Capitol Building.

Specifically, the man narrating the video and seen on screen was wearing a white Boston Red

Socks beanie cap, a black and white herringbone patterned scarf, and a woodland camouflage

patterned backpack that closely resemble the same clothing items worn by the individual in

Photograph #211-AOM A-B. The man in the video stated, “I tried to get in there, but they kicked

everyone out last second, but it is what it is.” Below is a still photograph from that YouTube video.



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       20.     On February 10, 2021, the FBI received a tip that originated from a group known

as the Sedition Hunters, that provided a possible identity for the individual depicted in Photograph

#211-AOM A-B. Sedition Hunters is a group of private citizens who compile information on U.S.

Capitol violence subject photographs posted on the FBI website. The information provided a

possible identity for the individual in Photograph #211-AOM A-B as Chase Allen from

Massachusetts. The tip included the below-listed photo from the Facebook profile located at

https://www.facebook.com/TheAllenReport that closely resembles the individual in Photograph

#211-AOM A-B, and another photo (see below) of the same individual taken on a date earlier than

January 6, 2021, who again closely resembles the individual in Photograph #211-AOM A-B. The

man in the photo was wearing clothing that closely resembles the clothing worn by the individual

in Photograph #211-AOM A-B. The photograph was found under “Chase Allen’s Photos” with

the caption “Chase Allen in Washington D.C.”




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       21.     Information     obtained     from     Facebook      for    the     profile   URL

https://www.facebook.com/TheAllenReport, showed that the account creator was Chase Allen

with a registry date of July 26, 2009, with two associated gmail addresses, and phone number (508)

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837-XXXX. The most recent login IP provided of January 23, 2021 resolved to Attleboro,

Massachusetts.

       22.    Subscriber information for one of the two gmail addresses used for the Facebook

account resolved to Chase Allen, with phone number (508) 837-XXXX, with a recovery email

identical to the second gmail address used for the Facebook account. The subscriber information

for the second gmail account used for the Facebook account resolved to The Allen Report, phone

number (508)-837-XXXX, and recovery email for the first gmail account. The most recent login

IP provided was on March 5, 2021 which resolved to Attleboro, Massachusetts.

       23.    A database query for the name CHASE ALLEN, telephone number (508) 837-

XXXX, produced one match with an address in Seekonk, Massachusetts, and date of birth of

06/XX/1996. The address and date of birth matched the records for a Chase Allen in the

Massachusetts Department of Motor Vehicles database.

       24.    On May 20, 2021, law enforcement officers interviewed Chase Allen at his

residence located in Reno, Nevada. The following paragraphs detail his statement:

       25.    Allen confirmed his DOB as 06/XX/1996, and his cell phone number as 508-837-

XXXX. Allen told law enforcement officers that he maintains a YouTube channel called The Allen

Report. Allen stated that he considers himself to be a documentary filmmaker and travels

throughout the U.S. to film various events and then posts the videos to his YouTube page. Allen

confirmed that he was at the U.S. Capitol on January 6, 2021 filming the events. Allen makes a

small amount of income from his YouTube channel as viewers donate to him through SuperChats,

PayPal, and CashApp. Donations fund Allen’s travel to film events.

       26.    On January 7, 2021, Allen visited Las Vegas, Nevada to conduct a “1st Amendment

Audit” of the FBI Las Vegas Headquarters with a group called “Auditing America Defense” led



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by “Enrique.” Allen stated that he aspires to conduct “1st Amendment audits” of a law enforcement

agency in every state. After interacting with the FBI Las Vegas security officers several times,

Allen was told he would be trespassing if he did not step back to the sidewalk. Allen went to leave

and crossed the road without using the crosswalk. He was arrested by a Las Vegas Metro Police

Department officer for jaywalking.

       27.     On May 3, 2021, Allen was in Las Vegas for a court hearing regarding his

aforementioned arrest. Allen stated that he encountered a friend in town, and his friend invited him

to move to Reno to sell pest control. Allen then moved to Reno, where he now resides.

       28.     When asked to explain his involvement with the Capitol riots on January 6, 2021,

Allen told law enforcement officers that he drove to Washington D.C. from his home in

Massachusetts on January 5, 2021. Allen heard the planned protests were going to be “big.” He

met up with another documentary group, led by an individual who hosts a radio show in Wisconsin.

Allen traveled with two associates. Allen and these other individuals all stayed at a Quality Inn or

other Choice Hotel property in Washington D.C. the night of January 5, 2021.

       29.     On the morning of January 6, 2021, Allen and his three associates took a Lyft or

Uber to the area where President Trump gave his speech. According to Allen, the crowd was too

large for Allen to get close enough to capture any good video. Following the speeches by Trump

and a few others, Allen and his three associates went to Ollie’s Trolley for lunch at approximately

12:00 p.m. While eating lunch, they saw on the news that the U.S. Capitol was being stormed by

rioters. According to Allen, they quickly finished eating and then rushed to the U.S. Capitol to

document what was happening.

       30.     According to Allen, upon arriving at the U.S. Capitol, Allen had a hard time

walking around because the area was so packed with people. As Allen began trying to work his



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way up the steps of the Capitol, one of Allen’s associates left, and his other two associates became

separated.

        31.    After making it to the U.S. Capitol steps, Allen stated that he never entered the U.S.

Capitol because he was skeptical of the law enforcement officers who were just letting people walk

in and out. Allen stated that he knows it is not normal to be able to walk into the Capitol, even

during tours, so he was afraid that it might have been a trap that could result in his arrest.

        32.    Allen stated that he was on the side of the Capitol where a lot of scaffolding was in

place. The right side of the building appeared to be cut off by law enforcement when he arrived.

While he was walking around, Allen witnessed a large civilian dressed in a camo jacket grab a law

enforcement officer and throw the law enforcement officer onto the ground. The officer got back

up and appeared dazed as he tried to step past the man in the camo jacket. According to Allen, the

man in the camo jacket appeared angry as the law enforcement officer touched him while trying

to move past again, so the man in the camo jacket punched the officer in the helmet knocking him

to the ground again. The officer got up and walked away. The man in the camo jacket also walked

away.

        33.    According to Allen, Allen tried to follow the law enforcement officer to ask what

had happened, but he stopped short because he did not want the officer to think he was trying to

attack him as well. Shortly after documenting the officer’s assault, Allen was sprayed in his left

eye with mace drifting through the air. He decided to leave the area and continued to walk around.

Allen eventually heard a commotion and moved toward it. He found a group of people in what

appeared to be an area for media use. People were gathered around a pile of damaged media

equipment to include cameras.




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       34.     According to Allen, several people were stomping on the equipment in the media

area. According to Allen, the group involved with destroying equipment began piling the

equipment up, sprayed it with Axe body spray, and unsuccessfully tried to set fire to the equipment.

According to Allen, Allen did not participate in the destruction of equipment and tried to de-

escalate what was happening. Allen stated that he sometimes does things while filming among

groups like those at the U.S. Capitol to fit in and cause those around him to believe that he is one

of them and not an opposing party. Allen stated that he will sometimes yell the same slogans or

rhetoric as the crowd around him to give the appearance of being one of them.

       35.     Allen further stated that Allen believes in the freedom of speech and intentionally

avoids categorizing himself as a member of specific groups in order to gain access to extremist

groups. Allen stated that he does his best to maintain his independence and does not pick sides.

Allen told law enforcement officers that while he was in the media area outside of the U.S. Capitol,

he “nonchalantly” tried to move stuff away from the pile of destroyed equipment. Allen stated that

Allen pulled some cords and a tripod camera out of the area where people were trying to burn the

equipment.

       36.     Allen told law enforcement officers that he believes the worst thing he did at the

Capitol riot was to use foul language after getting sprayed with mace and in attempt to fit in with

the rioters. While in the media equipment area, Allen stated that Allen received a phone call from

his associates from whom he had become separated. According to Allen, his associates told Allen

that he should leave because SWAT teams were on their way to the scene, and it was no longer

safe to film. According to Allen, Allen decided to stay and continue documenting and walked

around the area until dusk when officers began putting up fencing and things seemed to have

calmed down.



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       37.     Allen stated that he posted the video he captured of the assault of the law

enforcement officer to his YouTube channel, and believed he may have named it “Cop vs. the

American People.” As of the date of this affidavit, the video was still available for viewing online.

                                          Probable Cause

       38.     Your affiant submits there is probable cause to believe that Allen violated 40 U.S.C.

§ 5104(e)(2)(F), which makes it a crime to engage in an act of physical violence in the Grounds or

any of the Capitol Buildings.

       39.     Your affiant submits there is also probable cause to believe that CHASE KEVIN

ALLEN violated 18 U.S.C. § 1363 and § 2, which makes it unlawful, within the special maritime

and territorial jurisdiction of the United States, to willfully and maliciously destroy or injure any

structure, conveyance, or other real or personal property, or attempt or conspire to do such an act,

and aid and abet in such a crime. The U.S. Capitol and the U.S. Capitol grounds are federal

property within the special maritime or territorial jurisdiction of the United States.



                                               _______________________________________
                                               SPECIAL AGENT CAMERON MIZELL
                                               FEDERAL BUREAU OF INVESTIGATION


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 21st day of June, 2021.



                                               ___________________________________
                                               ROBIN M. MERIWEATHER
                                               U.S. MAGISTRATE JUDGE




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